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Fn-Eo sr

 

IN THE UNITED sTATEs DISTRJCT coUR'r
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 my .~2 w Q, 33
wEsTERN DIVISIoN ‘ “

RQR§"-`PT mt :"}; DOLIG

 

V€L.`Em _i.w Z.“i;,S- t DE§€T. CT.
sHARoN B. PoLLARD and " ' ' “"' *"’"EWH!S¢
JoHN A. PoLLARD,

Plaintiffs,
vs. NO: 95-3010 MI/V

E. I. DUPONT DE NEMOURS
and COIVIPANY,

Defendant.

 

CONSENT ORDER FOR DISBURSEMENT OF
ATTORNEY’S FEES AND EXPENSES
DEPOSITED INTO REGISTRY OF THE COURT

 

Before the Court is Plaintifi’s Motion for Order for Disbursement of
Attorneys’ Fees and Expenses heretofore deposited into Registry of the Court,
filed February 22, 2005. Speciiically, the Court has by Order entered February
23, 2005, granted Defendant’s Motion for Leave to Deposit in the Registry of the
Court the amount heretofore awarded Plaintiff by Court for Attorney’s Fees and
Expenses. This aggregate amount of $327,740.34 is composed of attorney’s fees
in the arnount of $301,476.50 and expenses in the amount of $26,263.84.

Plaintiff now seeks an Order for disbursement of said funds The United

States Treasury, Internal Revenue Service, has submitted a Release of Property

Thfs document entered on the docketsheet ln compliance

With Rule 58 and/or 79(3) FRCP on 519/012 j;;"/Q

 

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for Levy, a copy of vvhich is attached hereto as Exhibit “A”. Good cause having
been shown, the Court GRANTS the instant motion.

IT IS ORDERED that the Clerk of the Court disburse the funds received
and deposited into the Registry of this Court as follows:

1. A check payable to Sharon B. Pollard in the sum of $23,912.39 for
expenses advanced and awarded

2. A check payable to Kathleen L. Caldwell in the sum of $2,351.45 for
expenses advanced and awarded.

3. A check payable to Kathleen L. Caldwell in the sum of $39,000.00
for award of attorney’s fees.

4. A check payable to the U. S. Treasury, Internal Revenue Service in
the sum of $262,476.50, which funds represent the balance of attorney’s fees
awarded to Kathleen L. Caldwell and which are subject to levy heretofore
executed. Upon payment of these checks, the funds on deposit should be
reduced to zero and the levy satisfied as to the funds on deposit.

so oRDERJ-:D this 02 day CFM 2005.

M‘(lill

JO P. McCALLA
ited States District Judge

 

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2080 Peabody Avenue
Memphis, TN 38104

    

Maurice Wex]
Angie Davis
BAKER, DONELSON, BEARMAN,
CALDWELL 85 BERKOWITZ

2000 First Tennessee Building
165 Madison Avenue

Memphis, TN 38103

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Arnount of Kathleen L. Caldwell will be disbursed as follows:

$

 

$14,000.00

$25,000.00

 

to Internal Revenue Service for current
taxes (lst Quarter 2005).

to Burch, Porter 85 Johnson for attorney’s
fees (Kathleen L. Caldwell v. Alayne
Adams).

to Sam Muldavin for attorney’s fees
(Kathleen L. Caldwell re: BPR)

Total to Kathleen L. Caldwell

 

mm 668§Bse 2:95-3v-O30lt)-JPlvl-de uoUWGMWW-
nev Decemberzooi> Release of Levlee|ease of Property from Levy

 

 

 

To Taxpayer(s)
Kathleen L. Ca|dwell
C|er|< ofthe Court 1876 Central Ave.
Robert R. Ditroiio - |V|emphis, TN 38104
167 N Maln
Toom 242
Memphis. TN 38103 identifying Number($)
XXX-XX-XXXX

 

 

A notice of levy was served on you and demand was made for the surrender of:

I:i all property, rights to property, money, credits and bank deposits of the taxpayer(s) named above, except as provided in 6332(c) ot the
internal Revenue Code--"Speciai Rule For Banks." See Page 2 regarding this exception

m wages, salary and other income, now owed to or becoming payable to the taxpayer(s) named above

 

The box checked below applies to the levy we served on you.
Release of Levy

|:I l_lnder the provisions of internal Revenue Code section 6343, all property, rights to property. money, credits, and bank deposits of the
taxpayer(s) named above are released from the |evy.

ij ' 'Undefthe provis`ion`:",'efintemal Revenue Code section 6343.'§3|| wages.£alaw and other income now owed to or becoming payable to w~_~_~»,a_w_<»_.;;g§
the taxpayer{s) named above are released from the |evy.

 

Release of Property from Levy

g Under the provisions of internal Revenue Code section 6343, ali property. rights to property, money, credits. and bank deposits
Mgreater than |:l less than $262,476_50 are released from the levy. The levy now attaches only to this amount

l:| The last payment we received from you was _ dated _. The amount the taxpayer still owes is l When this amount is paid to the internal
Revenue Service, the levy is released if you sent us a payment after the last payment date shown, subtract that from the amount you
send now.

i:! Underthe provisions of internal Revenue Code section 6343, ali wages, salary and other income \::| greaterthan [:l less than each
now owed to or becoming payable to the taxpayer(s) named above are released from the levy.

Dated at 22 N. Front Street, STE 400, , Niemphis, TN 38103 Aoril 20, 2005
(Piacel (Dare)

 

Signature Te|ephone Number Tit!e

ibew C - 5

Nlar|ene C. Eady (662) 252-7435 Revenue Offlcer

 

 

 

Part 1 - To Addressee Form 668-o (Dorco) (Rev. 12-2001)

 

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Sec. 6332 Surrender of Property Subject to Levy

(c) Specia| Ru|e for Banks.-_Any bank (as defined in section 408(n)) shall surrender (subject to

an attachment or execution under judicial process) any deposits (include interest thereon) in such
bank only after 21 days after service of levy.

**‘k*k******

Sec. 6343 Authority to Re|ease Levy and Return Property

(a) Release of Levy and Notice of Re|ease.--
(i) in genera|.-_Under regulations prescribed by the Secretary, the Secretary shall release the
levy upon ail, or part of1 the property or rights to property levied upon and shall promptly notify the
person upon whom such levy was made (if any) that such levy has been released if-_
(A) the iiability for which such levy was made is satisfied or becomes unenforceable by reason
of lapse of timel
(B) release of such levy will facilitate the collection of such liability,
(C) the taxpayer has entered into an agreement under section 6159 to satisfy such liability by
means of installment payments, unless such agreement provides otherwise,
(D) the Secretary has determined that such levy is creating an economic hardship due to the
financial condition of the taxpayer, or
(E) the fair market value of the property exceeds such liability and release of the levy on a part
of such property could be made without hindering the collection of such iiability.
For purposes of subparagraph (C), the Secretary is not required to release such levy if such
release would jeopardize the secured creditor status of the Secretary.
(2) Expedited determination of certain business property.-_|n the case of any tangible
personal property essential in carrying on the trade or business of the taxpayer, the Secretary
shaii provide for an expedited determination under paragraph (1) it levy on such tangible personal
property would prevent the taxpayer from carrying on such trade or business
(3) Subsequent |evy._The release of levy on any property under paragraph (1) shall not
prevent any subsequent levy on such property.

(b) Return of property.--

if the Secretary determines that property has been wrongfully levied upon, it shall be lawful for the
Secretary to return...an amount equal to the amount of money levied upon...any time before the
expiration of 9 months from the date of such |evy...

(d) Return of Property in Certain Cases.--lf--
(1) any property has been levied upon, and
(2) the Secretary determines that-~

(A) the levy on such property was premature or otherwise not in accordance with
administrative procedures of the Secretary,

(B) the taxpayer has entered into an agreement under section 6159 to satisfy the tax
liability for Whlch the levy was imposed by means of installment payments, unless such
agreement provides otherwise,

(C) the return of such property will facilitate the collection of the tax liability, or

(D) with the consent of the taxpayer of the Taxpayer Advocate, the return of such property
would be in the best interests of the taxpayer (as determined by the Taxpayer Advocate) and
the United States,

the provisions of subsection (b) shall apply in the same manner as if such property had been
wrongly levied upon, except that no interest shall be allowed

 

Part 1 - To Addressee Form ess-o (oo/co) (Rev_ 12-2001)

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 383 in
case 2:95-CV-03010 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listcd.

 

 

Maurice Wexler

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
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1\/lemphis7 TN 38103

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Kathleen L. Caldvvell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

1\/lemphis7 TN 38104

Honorable .1 on McCalla
US DISTRICT COURT

